            Case 1:20-cv-01193 Document 1 Filed 05/07/20 Page 1 of 11



                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

DEBORAH LAUFER, Individually,            :
                                         :
             Plaintiffs,                 :
                                         :
v.                                       :               Case No.
                                         :
COLUMBIA REALTY VENTURE LLC, A           :
Washington, DC Corporation,              :
                                         :
             Defendant.                  :
_______________________________________/ :
                                         :
                                         :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

COLUMBIA REALTY VENTURE LLC, A Washington, DC Corporation, (sometimes referred to

as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant

to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Pasco County, Florida, is sui juris, and qualifies as an

               individual with disabilities as defined by the ADA. Plaintiff is unable to engage in

               the major life activity of walking more than a few steps without assistive devices.

               Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or other support

               and has limited use of her hands. She is unable to tightly grasp, pinch and twist of the

               wrist to operate. When ambulating beyond the comfort of her own home, Plaintiff

               must primarily rely on a wheelchair. Plaintiff requires accessible handicap parking

               spaces located closet to the entrances of a facility. The handicap and access aisles
     Case 1:20-cv-01193 Document 1 Filed 05/07/20 Page 2 of 11



      must be of sufficient width so that she can embark and disembark from a ramp into

      her vehicle. Routes connecting the handicap spaces and all features, goods and

      services of a facility must be level, properly sloped, sufficiently wide and without

      cracks, holes or other hazards that can pose a danger of tipping, catching wheels or

      falling. These areas must be free of obstructions or unsecured carpeting that make

      passage either more difficult or impossible. Amenities must be sufficiently lowered

      so that Plaintiff can reach them. She has difficulty operating door knobs, sink faucets,

      or other operating mechanisms that tight grasping, twisting of the wrist or pinching.

      She is hesitant to use sinks that have unwrapped pipes, as such pose a danger of

      scraping or burning her legs. Sinks must be at the proper height so that she can put

      her legs underneath to wash her hands. She requires grab bars both behind and beside

      a commode so that she can safely transfer and she has difficulty reaching the flush

      control if it is on the wrong side. She has difficulty getting through doorways if they

      lack the proper clearance.

2.    Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

      "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

      determining whether places of public accommodation and their websites are in

      compliance with the ADA.

3.    According to the county property records, Defendant owns a place of public

      accommodation as defined by the ADA and the regulations implementing the ADA,

      28 CFR 36.201(a) and 36.104. The place of public accommodation that the




                                         2
     Case 1:20-cv-01193 Document 1 Filed 05/07/20 Page 3 of 11



      Defendant owns is a place of lodging known as Georgetown Suites Washington DC,

      1111 30th St NW, Washington, DC 20007, (hereinafter "Property").

4.    Venue is properly located in the DISTRICT OF COLUMBIA because the subject

      hotel is located in this District.

5.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

      original jurisdiction over actions which arise from the Defendant’s violations of Title

      III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

      U.S.C. § 2201 and § 2202.

6.    As the owner of the subject place of lodging, Defendant is required to comply with

      the ADA. As such, Defendant is required to ensure that it's place of lodging is in

      compliance with the standards applicable to places of public accommodation, as set

      forth in the regulations promulgated by the Department Of Justice. Said regulations

      are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

      Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

      by reference into the ADA. These regulations impose requirements pertaining to

      places of public accommodation, including places of lodging, to ensure that they are

      accessible to disabled individuals.

7.    More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

      requirement:

      Reservations made by places of lodging. A public accommodation that owns,
      leases (or leases to), or operates a place of lodging shall, with respect to
      reservations made by any means, including by telephone, in-person, or through a
      third party -



                                           3
     Case 1:20-cv-01193 Document 1 Filed 05/07/20 Page 4 of 11



             (i) Modify its policies, practices, or procedures to ensure that individuals
             with disabilities can make reservations for accessible guest rooms during
             the same hours and in the same manner as individuals who do not need
             accessible rooms;
             (ii) Identify and describe accessible features in the hotels and guest rooms
             offered through its reservations service in enough detail to reasonably
             permit individuals with disabilities to assess independently whether a
             given hotel or guest room meets his or her accessibility needs;
             (iii) Ensure that accessible guest rooms are held for use by individuals
             with disabilities until all other guest rooms of that type have been rented
             and the accessible room requested is the only remaining room of that type;
             (iv) Reserve, upon request, accessible guest rooms or specific types of
             guest rooms and ensure that the guest rooms requested are blocked and
             removed from all reservations systems; and
             (v) Guarantee that the specific accessible guest room reserved through its
             reservations service is held for the reserving customer, regardless of
             whether a specific room is held in response to reservations made by others.

8.    These regulations became effective March 15, 2012.

9.    Defendant, either itself or by and through a third party, implemented, operates,

      controls and or maintains websites for the Property which contains an online

      reservations system. These websites are located at:

      https://res.windsurfercrs.com/, https://www.georgetownsuites.com/, booking.com,
      agoda.com, hotels.com, expedia.com, and orbitz.com.

      This term also includes all other websites owned and operated by Defendant or by

      third parties to book or reserve guest accommodations at the hotel. The purpose of

      these websites is so that members of the public may reserve guest

      accommodations and review information pertaining to the goods, services,

      features, facilities, benefits, advantages, and accommodations of the Property. As

      such, these websites are subject to the requirements of 28 C.F.R. Section

      36.302(e).



                                       4
      Case 1:20-cv-01193 Document 1 Filed 05/07/20 Page 5 of 11



10.    Prior to the commencement of this lawsuit, on April 24, 2020 and May 3, 2020,

       Plaintiff visited the websites for the purpose of reviewing and assessing the

       accessible features at the Property and ascertain whether they meet the

       requirements of 28 C.F.R. Section 36.302(e) and her accessibility needs.

       However, Plaintiff was unable to do so because Defendant failed to comply with

       the requirements set forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff

       was deprived the same goods, services, features, facilities, benefits, advantages,

       and accommodations of the Property available to the general public. Specifically,

       the following violations were found:

       a.     The website for the hotel located at booking.com did not identify or allow

              for reservation of accessible guest rooms and did not provide sufficient

              information regarding accessability at the hotel.

       b.     The website for the hotel located at expedia.com did not identify or allow

              for reservation of accessible guest rooms and did not provide sufficient

              information regarding accessability at the hotel.

       c.     The website for the hotel located at hotels.com did not identify or allow

              for reservation of accessible guest rooms and did not provide sufficient

              information regarding accessability at the hotel.

       dc.    The website for the hotel located at agoda.com did not identify or allow

              for reservation of accessible guest rooms and did not provide sufficient

              information regarding accessability at the hotel.




                                         5
      Case 1:20-cv-01193 Document 1 Filed 05/07/20 Page 6 of 11



       ec.    The website for the hotel located at orbitz.com did not identify or allow for

              reservation of accessible guest rooms and did not provide sufficient

              information regarding accessability at the hotel.

       f.     The website for the hotel located at https://res.windsurfercrs.com/ did not

              identify or allow for reservation of accessible guest rooms and did not

              provide sufficient information regarding accessability at the hotel.

       g.     The website for the hotel located at https://www.georgetownsuites.com did

              not identify or allow for reservation of accessible guest rooms and did not

              provide sufficient information regarding accessability at the hotel.

11.    In the near future, Plaintiff intends to revisit Defendant's websites and/or online

       reservations system in order to test them for compliance with 28 C.F.R. Section

       36.302(e) and/or to utilize the websites to reserve a guest room and otherwise

       avail herself of the goods, services, features, facilities, benefits, advantages, and

       accommodations of the Property.

12.    Plaintiff is continuously aware that the subject websites remain non-compliant and

       that it would be a futile gesture to revisit the websites as long as those violations

       exist unless she is willing to suffer additional discrimination.

13.    The violations present at Defendant's websites infringe Plaintiff's right to travel

       free of discrimination and deprive her of the information required to make

       meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

       frustration and humiliation as the result of the discriminatory conditions present at

       Defendant's website. By continuing to operate the websites with discriminatory


                                          6
      Case 1:20-cv-01193 Document 1 Filed 05/07/20 Page 7 of 11



       conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

       and deprives Plaintiff the full and equal enjoyment of the goods, services,

       facilities, privileges and/or accommodations available to the general public. By

       encountering the discriminatory conditions at Defendant's website, and knowing

       that it would be a futile gesture to return to the websites unless she is willing to

       endure additional discrimination, Plaintiff is deprived of the same advantages,

       privileges, goods, services and benefits readily available to the general public. By

       maintaining a websites with violations, Defendant deprives Plaintiff the equality

       of opportunity offered to the general public. Defendant's online reservations

       system serves as a gateway to its hotel. Because this online reservations system

       discriminates against Plaintiff, it is thereby more difficult to book a room at the

       hotel or make an informed decision as to whether the facilities at the hotel are

       accessible.

14.    Plaintiff has suffered and will continue to suffer direct and indirect injury as a

       result of the Defendant’s discrimination until the Defendant is compelled to

       modify its websites to comply with the requirements of the ADA and to

       continually monitor and ensure that the subject websites remains in compliance.

15.    Plaintiff has a realistic, credible, existing and continuing threat of discrimination

       from the Defendant’s non-compliance with the ADA with respect to these

       websites. Plaintiff has reasonable grounds to believe that she will continue to be

       subjected to discrimination in violation of the ADA by the Defendant.




                                          7
      Case 1:20-cv-01193 Document 1 Filed 05/07/20 Page 8 of 11



16.    The Defendant has discriminated against the Plaintiff by denying her access to,

       and full and equal enjoyment of, the goods, services, facilities, privileges,

       advantages and/or accommodations of the subject website.

17.    The Plaintiff and all others similarly situated will continue to suffer such

       discrimination, injury and damage without the immediate relief provided by the

       ADA as requested herein.

18.    Defendant has discriminated against the Plaintiff by denying her access to full and

       equal enjoyment of the goods, services, facilities, privileges, advantages and/or

       accommodations of its place of public accommodation or commercial facility in

       violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

       Defendant continues to discriminate against the Plaintiff, and all those similarly

       situated by failing to make reasonable modifications in policies, practices or

       procedures, when such modifications are necessary to afford all offered goods,

       services, facilities, privileges, advantages or accommodations to individuals with

       disabilities; and by failing to take such efforts that may be necessary to ensure that

       no individual with a disability is excluded, denied services, segregated or

       otherwise treated differently than other individuals because of the absence of

       auxiliary aids and services.

19.    Plaintiff is without adequate remedy at law and is suffering irreparable harm.

       Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

       fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

       12205 and 28 CFR 36.505.


                                         8
           Case 1:20-cv-01193 Document 1 Filed 05/07/20 Page 9 of 11



20.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject websites to make it readily accessible and useable to the Plaintiff and all

             other persons with disabilities as defined by the ADA and 28 C.F.R. Section

             36.302(e); or by closing the websites until such time as the Defendant cures its

             violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against the Defendant including an order to revise its websites to

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

             maintain the websites to ensure that it remains in compliance with said requirement.

      c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.

      d.     Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.

                                            Respectfully Submitted,

                                            Thomas B. Bacon, P.A.
                                            5150 Cottage Farm Rd.
                                            Johns Creek, GA 30022
                                            ph. (404) 276-7277
                                            gillespie.tristan@gmail.com
                                            Georgia Bar ID No. 268064



                                               9
Case 1:20-cv-01193 Document 1 Filed 05/07/20 Page 10 of 11



                          By: /s/ Tristan W. Gillespie, Esq.
                              Tristan W. Gillespie, Esq.
          Case 1:20-cv-01193 Document 1 Filed 05/07/20 Page 11 of 11



                         AUTHORIZATION TO INITIATE
                       COMPLAINT FOR INJUNCTIVE RELIEF
                               UNDER THE ADA


1.    Authorization is hereby given to Thomas B. Bacon, P.A. to initiate a complaint on my
      behalf against the following defendant:

        COLUMBIA REALTY VENTURE LLC dba Georgetown Suites Washington DC, 1111
30th St NW, Washington, DC 20007 and its websites located at:

             https://res.windsurfercrs.com/, https://www.georgetownsuites.com/, booking.com,
             agoda.com, hotels.com, expedia.com, and orbitz.com

2.    For the case involving the above mentioned defendant, the “Standard ADA Fee
      Agreement” and the “Standard ADA Statement of Client’s Rights”, shall establish the
      rights and obligations of the client and the attorneys.

3.    I have read the draft of the Complaint prepared by Thomas B. Bacon, P.A., and I agree
      with its contents. I have visited and reviewed the subject websites and encountered
      barriers to access which discriminated against my on the basis of my disability as
      described in the complaint.


________________________________                         ____________________
DEBORAH LAUFER                                                 Date

Re:   DEBORAH LAUFER v. COLUMBIA REALTY VENTURE LLC dba Georgetown
      Suites Washington DC, Our File No. 3903
